Case 1:04-cv-Oll73-.]DT-STA Document 6 Filed 05/09/05 Page 1 of 3 Page|D 13
IN THE UNITED STATES DISTRICT COURT@S \ ' '

FoR THE WESTERN DISTRICT oF TENNESSEEH" 5 PH g ,,7
EASTERN DIvIsIoN jga__;;-; s

{/L£;L;‘,: '\-»f* Qf THO
we »,;;,.'~.»1@ craig
RAYMOND E. CLARK, )
)
Plaintiff, )
)
VS. ) No. 04-1 173-T-An
)
CORRECTION CORPORATION )
OF AMERICA, et al., )
)
Def`endants. )

 

ORDER DENYING MOTION FOR RELIEF FROM .TUDGMENT

 

On September l, 2004, an order Was entered administratively closing this case as
being duplicative of civil action number 04-1038. On September 20, 2004, Plaintif`f filed
a motion for relief from judgment [Docket # 5]. The motion is DENIED.

Fed. R. Civ. P. 60 (b) provides that the court may set aside a final judgment or order
for reasons enumerated in six subsections of the rule. Rule 60 states, in part, that, “[o]n
motion and upon such terms as are just, the court may relieve a party . . . from final
judgment, order, or proceedings for . . . (l) mistake, inadvertence, surprise, or excusable
neglect.” T 0 establish eligibility for relief under Rule 60(b)(1), a moving party must show
(l) the existence of mistake, inadvertence, surprise, or excusable neglect and (2) that he has

a meritorious defense. Marshall v. Monroe & Sons Inc., 615 F.Zd 1156, 1160 (6th Cir.

 

1980). Other reasons to set aside an order or judgment under Rule 60(b) are:

This document entered on the docket sh t in compliance
with aura se and/or 79 (a) FncP on _EI§.[_L§___

Case 1:04-cv-Oll73-.]DT-STA Document 6 Filed 05/09/05 Page 2 of 3 Page|D 14

(2) newly discovered evidence which by due diligence could not have been
discovered in time to move for a new trial under Rule 59(b); (3) fraud (whether
heretofore denominated intrinsic or extrinsic), misrepresentation, or other
misconduct of an adverse party; (4) the judgment is void; (5) the judgment has
been satisfied, released, or discharged, or a prior judgment upon which it is
based has been reversed or otherwise vacated, or it is no longer equitable that
the judgment should have prospective application; or (6) any other reason
justifying relief from the operation of the judgment

Rule 60(b)(6) is available as a ground for relief in exceptional circumstances and can only
be relied upon in circumstances that are not covered by the first five subsections of Fed. R.
Civ. P.60(b). Fuller v. Quire, 916 F.2d 358, 360 (6th Cir,1990). The moving party bears the
burden of demonstrating that the facts fall under the provisions of Fed. R. Civ. P. 60(b).
Smith v. Kincaid, 249 F.2d 243, 245 (6“‘ Cir. 1957).

Plaintiff has failed to assert any facts which Would entitle him to relief under Rule
60(b). Therefore, the motion is DENIED.

IT IS SO ORDERED.

  

UN ED STATES DISTRICT JUDGE

é>/YMM amf

DATE (/

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case l:04-CV-01173 vvas distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

Raymond E. Clark
HCCF-WHITEVILLE
227052

P.O. Box 549

Whiteville, TN 38075--054

Honorable J ames Todd
US DISTRICT COURT

